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            8                                 UNITED STATES DISTRICT COURT
            9                              NORTHERN DISTRICT OF CALIFORNIA
           10                                      OAKLAND DIVISION
           11    ROBERT ROSS,                                CASE NO. 4:19-CV-06669 (JST)
           12                        Plaintiff,              STIPULATED ORDER RE: DISCOVERY
                                                             OF ELECTRONICALLY STORED
           13         v.                                     INFORMATION
           14    AT&T MOBILITY LLC,
           15                        Defendant.
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            1         STIPULATED ORDER ON THE DISCOVERY OF ELECTRONICALLY STORED
            2                                                INFORMATION
            3              Pursuant to this Court’s May 19, 2020 order, Plaintiff Robert Ross (“Mr. Ross”) and Defendant
            4    AT&T Mobility LLC (“AT&T”) hereby submit this Stipulated Order on the Discovery of
            5    Electronically Stored Information.
            6    1.        PURPOSE
            7              This Order will govern discovery of electronically stored information (“ESI”) in this case, Ross
            8    v. AT&T Mobility, LLC (No. 4:19-CV-06669), as a supplement to the Federal Rules of Civil Procedure,
            9    this Court’s Guidelines for the Discovery of Electronically Stored Information, and any other
           10    applicable orders and rules.
           11    2.        COOPERATION
           12              The Parties are aware of the importance the Court places on cooperation and commit to
           13    cooperate in good faith throughout the matter consistent with this Court’s Guidelines for the Discovery
           14    of ESI.
           15    3.        LIAISON
           16              The Parties have identified liaisons to each other who are and will be knowledgeable about and
           17    responsible for discussing their respective ESI. Each e-discovery liaison will be, or have access to
           18    those who are, knowledgeable about the technical aspects of e-discovery, including the location, nature,
           19    accessibility, format, collection, search methodologies, and production of ESI in this matter. The
           20    Parties will rely on the liaisons, as needed, to confer about ESI and to help resolve disputes without
           21    court intervention.
           22    4.        PRESERVATION
           23              The Parties have discussed their preservation obligations and needs and agree that preservation
           24    of potentially relevant ESI will be reasonable and proportionate. To reduce the costs and burdens of
           25    preservation and to ensure proper ESI is preserved, the Parties agree that:
           26              a)       Only ESI created or received between January 1, 2018, and the present will be
           27    preserved; provided that if a party maintains responsive ESI for a greater period, nothing in this
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            1    stipulation will relieve that party of any obligation it has to produce such ESI, if such obligation would
            2    otherwise exist under the Federal Rules of Civil Procedure;
            3           b)       Nothing in this stipulation waives any objection to the discoverability or admissibility
            4    of any document or other material requested in discovery;
            5           c)       The Parties will exchange a list of the types of ESI they believe should be preserved and
            6    the custodians, or general job titles or descriptions of custodians, for whom they believe ESI should be
            7    preserved, e.g., “HR head,” “scientist,” and “marketing manager.” The Parties shall add or remove
            8    custodians as reasonably necessary;
            9           d)       The Parties will agree on the number of custodians per party for whom ESI will be
           10    preserved;
           11           e)       The Parties have not currently identified any data sources that are likely to contain
           12    relevant information yet are not reasonably accessible because of undue burden or cost pursuant to Fed.
           13    R. Civ. P. 26(b)(2)(B). The Parties will meet and confer over their obligations to preserve and produce
           14    information from such sources if such sources are identified in the future.
           15    5.     SEARCH
           16           The Parties agree that in responding to an initial Fed. R. Civ. P. 34 request, or earlier if
           17    appropriate, they will meet and confer about methods to search ESI in order to identify ESI that is
           18    subject to production in discovery and filter out ESI that is not subject to discovery.
           19    6.     PRODUCTION FORMATS
           20    A.    Digitized Paper Documents
           21          i.        Documents originally in paper or physical form will be digitized into single- page, group
           22    IV (G4) format, black and white TIFF TIFF images, group IV format, 300 dots per inch (“dpi”). Color
           23    scans of such documents will be made available on reasonable request if the originals of such
           24    documents included color content.
           25         ii.        Every filename will match the document’s Bates number, and will be zero padded with
           26    no blank spaces, e.g., D_000000001 (Defendants’ Bate Stamp Page 1), P_000820009 (Plaintiffs’ Bate
           27    Stamp Page 000820009). This does not preclude the parties from using appropriate designations for
           28    supplemental, corrected, or one-off productions. Per sub-paragraph (iii), below, documents originally

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            1    in paper or physical form will be produced in a logically unitized form, rather than as individual per-
            2    page images;
            3         iii.         Absent special circumstances, when scanning paper documents, distinct documents
            4    shall not be merged into a single record, and single documents shall not be split into multiple records
            5    (i.e., paper documents should be logically unitized). In addition, organized compilations of separate
            6    paper documents must be produced as they existed in the normal course of business with information
            7    that identifies the folder (or container) structure, including with proper coding of the beginning and
            8    ending document and attachment fields, to the extent such structure exists and to the extent reasonably
            9    possible.
           10         iv.          The Parties will include with each production delivery an archival image link file as
           11    agreed (i.e., an Opticon (.OPT) file or LFP).
           12          v.          The Parties will include standard Concordance default delimited text files as agreed in
           13    .DAT or similar format and will include all available fielding data, including but not limited to
           14    beginning and ending Bates numbers, beginning and ending attachment numbers, and number of pages
           15    except where otherwise agreed.
           16         vi.          The Parties will apply Optical Character Recognition (“OCR”) software to all applicable
           17    documents and create OCR-searchable files in .TXT format for each page digitized as in (i) above;
           18    filenames for .TXT files will synchronize with/be identical to the filename for the corresponding TIFF
           19    file. Delivery of TIFF files will be accompanied by a corresponding document-level OCR text file.
           20    The file name of each OCR text file shall be named identical to that of the first image page of its
           21    corresponding document, followed by .txt.
           22    B.     Documents Originating Electronically
           23               Except as otherwise noted herein or agreed on by the Parties, and notwithstanding any format
           24    provisions in a Party’s discovery requests, ESI will generally be produced in conformance with the
           25    specifications detailed below. The Parties agree to produce documents in a combination of PDF, TIFF,
           26    and/or native file formats as may be agreed among the parties from time to time. The Parties agree to
           27    continue to confer regarding the file format appropriate to particular documents. All attachments,
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            1    addendums, enclosures, or exhibits to parent documents will be produced and identified as they relate
            2    to the respective parent document.
            3           i.        System Files. Common system and program files, as defined by the NIST library
            4    (which is commonly used by e-discovery vendors to exclude system and program files from document
            5    review and production), need not be processed, reviewed or produced.             Each Party may use
            6    commercially reasonable culling methods to filter out common system and program files, including a
            7    hash identification process.
            8           ii.       De-Duplication. A party is only required to produce a single copy of a responsive
            9    document, and a Producing Party shall de-duplicate responsive ESI across custodians by the use of
           10    MD5 or SHA-1 hash values at the parent level. All agreed-upon custodians who were in possession of
           11    a de-duplicated document shall be identified in the “DUPLICATECUSTODIAN” metadata field to the
           12    extent reasonably possible. Custodians shall be identified using the convention “last name_first name”
           13    or “last name, first name,” where applicable. Entity or departmental custodians shall be identified with
           14    a description of the entity or department. A Producing Party shall use a uniform description of a
           15    particular custodian across productions. Multiple custodians in the “DUPLICATECUSTODIAN “
           16    field shall be separated by a semicolon. Attachments shall not be eliminated as duplicates for purposes
           17    of production, unless the parent email and all attachments are also exact duplicates of another family,
           18    and parent-child relationships shall be preserved as part of any de-duplication. Hard copy documents
           19    shall not be eliminated as duplicates of responsive ESI. If, during the course of its review, the
           20    Producing Party identifies additional duplicate documents, the Parties reserve their rights to use a
           21    custom de-duplication protocol and must disclose use of such a de-duplication protocol to the other
           22    Party prior to implementing any such custom de-duplication protocol. The Parties reserve their right
           23    to object to any such custom de-duplication protocol.
           24           iii.      Parent-Child Relationships. Parent-child relationships (i.e., the association between
           25    an attachment and its parent document) must be preserved if reasonably possible (and to the extent the
           26    parent-child relationship is reasonably apparent) and coded appropriately. For example, electronic
           27    documents attached to an email are to be produced contemporaneously and sequentially, immediately
           28    after the parent document. Similarly, if a Party produces a document with attachments, appendices, or

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            1    indices, those documents shall be produced behind the document in the order in which they were
            2    attached.
            3           iv.      Metadata Fields and Processing. To the extent reasonably available and accessible,
            4    the metadata fields listed in Appendix A shall be produced.
            5           v.       Extracted Text Files. For each document produced in TIFF format, an extracted text
            6    file shall be provided along with its corresponding TIFF image file(s) and metadata. The file name of
            7    each extracted text file shall be identical to that of the first image page of its corresponding document,
            8    followed by .txt. Text from all pages of the document will be included in the single document-level
            9    file. File names shall not contain any special characters or embedded spaces. The text of native files
           10    shall be extracted directly from the native file. However, if a document is produced with redactions,
           11    OCR of the redacted document will suffice in lieu of extracted text.
           12           vi.      Database Load Files and Cross-Reference Files. Accompanying each production
           13    shall be a metadata file (DAT file) using standard Concordance delimiters. Each production shall also
           14    include an image load file in Opticon format (OPT). The metadata file and image load file (i.e., DAT
           15    and OPT files) shall be provided in a self-identified “Data” folder.
           16           vii.     Native Files. Absent special circumstances, source code, large diagrams, Excel files,
           17    .csv files, and other files that cannot conveniently be produced as TIFF images shall be produced in
           18    native format (“Native Files”), unless they have redactions, in which case they shall be produced as
           19    TIFF images with OCR of the redacted document. Native Files shall be provided in a self-identified
           20    “Natives” directory. Each Native File shall be produced with a corresponding single-page TIFF
           21    placeholder image, which will contain language indicating that the document is being produced as a
           22    Native File. Native Files shall be named with the beginning Bates number that is assigned to the
           23    specific record of the TIFF placeholder in the production. A “NativeLink” entry for each spreadsheet
           24    shall be included in the .DAT load file indicating the relative file path to each Native File on the
           25    production media. Native Files shall be produced with extracted text and applicable metadata fields as
           26    set forth in Appendix A. If a document to be produced as a Native File contains privileged information
           27    or information protected by privacy laws, the document will be redacted to the extent reasonably and
           28    technically possible. Any metadata fields for redacted documents that would reveal privileged

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            1    information shall be excluded. Each Producing Party will make reasonable efforts to ensure that its e-
            2    discovery vendor, before conversion to TIFF, reveals hidden data from redacted Native Files that are
            3    produced as TIFF image files and will be formatted so as to be readable. (For example, in Excel files,
            4    column widths shall be formatted so that the content does not appear as “#########.”) The parties
            5    shall meet and confer in good faith as to any other hidden data, e.g., formulas, macros, or underlying
            6    data sets, that are not accessible in a TIFF image file. To the extent documents that fall under this
            7    section contain privileged information or information protected by privacy laws and cannot be redacted
            8    or produced with TIFF image files, such documents will be logged on a privilege log. The Producing
            9    Party shall exercise reasonable, good faith efforts to maintain all collected Native Files that may be
           10    relevant in a manner that does not materially alter or modify the file or the metadata, other than as
           11    provided.
           12           viii.    Structured Data. To the extent that responding to a discovery request requires
           13    production of ESI contained in a database, the Parties shall meet and confer to address the appropriate
           14    data extraction and production format for specific information contained in a database.
           15           ix.      Text Messages, Chats, and Instant Messenger Conversations. Text message, chats,
           16    and instant messenger conversations, to the extent their content can be determined to be responsive,
           17    and to the extent the Parties agree to produce such files if any exist, will be produced in a reasonably
           18    usable form as may be agreed upon by the Parties.
           19           x.       Audio Files and Video Files. Audio and video files, to the extent their content can be
           20    determined to be responsive, and to the extent the Parties agree to produce such files if any exist, will
           21    be produced in a reasonably usable form as may be agreed upon by the Parties.
           22

           23    C.    Production Media
           24           Documents shall be exchanged through secure file transfer protocols (e.g., SFTP), or similar
           25    secure electronic transmission. The production shall be labeled with the Volume Number along with
           26    the Bates Number range(s) of the materials. Any document production that may contain “non-public
           27    personal information” shall be produced in encrypted form. If a Producing Party encrypts or “locks”
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            1    the production, the Producing Party shall simultaneously send, under separate cover, an explanation of
            2    how to decrypt the files and any credentials necessary to do so.
            3    7.     PHASING
            4           When a party propounds discovery requests pursuant to Fed. R. Civ. P. 34, the Parties agree to
            5    meet and confer regarding any request from the Requesting Party that ESI be phased such that the
            6    initial production comes from particular sources and custodians in order to facilitate alternative dispute
            7    resolution procedures or for other reasons.
            8    8.     DOCUMENTS PROTECTED FROM DISCOVERY
            9           a)       In accordance with Fed. R. Evid. 502(d), the production of a privileged or work-product-
           10    protected document, whether inadvertent or otherwise, is not a waiver of privilege or protection from
           11    discovery in this case or in any other federal or state proceeding. For example, the mere production of
           12    privileged or work-product-protected documents in this case as part of a mass production is not itself
           13    a waiver in this case or in any other federal or state proceeding.
           14           b)       Occasions of inadvertent production shall be addressed pursuant to Paragraph 11 of the
           15    Parties’ stipulated protective order.
           16           c)       Communications involving trial counsel that post-date the filing of the complaint need
           17    not be placed on a privilege log. Communications may be identified on a privilege log by category,
           18    rather than individually, if appropriate.
           19    9.     NO WAIVER
           20           Matters not addressed in this protocol shall not be deemed waived. Rather, any such matters
           21    shall be addressed by the Parties at a later time through additional meeting and conferring, and, if
           22    necessary, submitted to the Court for resolution.
           23    10.    MODIFICATION
           24           This Stipulated Order may be modified by a Stipulated Order of the Parties or by the Court for
           25    good cause shown.
           26

           27    IT IS SO STIPULATED, through Counsel of Record.
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            1    Dated: May 29, 2020
            2                                                  MARCELLUS MCRAE
                                                               ASHLEY E. JOHNSON
            3                                                  GIBSON, DUNN & CRUTCHER LLP
            4

            5                                                  By: /s/ Ashley E. Johnson
                                                                      Ashley E. Johnson
            6

            7                                                  Attorneys for Defendant AT&T MOBILITY, LLC
            8    Dated: May 29, 2020                           CHRISTOPHER GRIVAKES
                                                               DAMION ROBINSON
            9                                                  AFFELD GRIVAKES LLP
           10

           11                                                  By: /s/ Damion Robinson
                                                                      Damion Robinson
           12
                                                               Attorneys for Plaintiff ROBERT ROSS
           13

           14
                 Local Rule 5-1(i) attestation:
           15
                 Pursuant to Local Rule 5-1(i), I, Ashley E. Johnson, attest that concurrence in the filing of this
           16
                 document was obtained from the other signatory to this document.
           17

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           19    IT IS ORDERED that the foregoing Agreement is approved.
           20                 1 2020
                  Dated: June __,
           21                                                United States District Judge Jon S. Tigar
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            1    *      Pursuant to ¶ B above, the Parties agree to include in their production load files the
                 information set forth and explained in the following Metadata Table, if available:
            2
                                                            APPENDIX A
            3
                  Field Name                Sample Data                         Description
            4     PRODBEG                   P000000222                          First Bates number of native file
                                                                                document/email
            5

            6     PRODEND                   P000000222                          Last Bates Number of native
            7                                                                   file document/email (single-
                                                                                page documents will list
            8                                                                   beginning and
                                                                                ending Bates number)
            9     PRODBEGATTACH             P000000222                          First Bates number of
                                                                                attachment range
           10

           11     PRODENDATTACH             P000000229                          Last Bates number of
           12                                                                   attachment range

           13
                  ATTACH_RANGE              P000000222- P000000229              Beginning Bates number of
           14                                                                   parent document through
                                                                                ending Bates number of last
           15                                                                   attachment/child
                                                                                Document
           16     CUSTODIAN                 Adams, John;                        Email: mailbox in which the file
                                            johnadams@1776.g                    was located Native: Individual
           17                                                                   who originated the document
                                            ov
           18     DUPLICATE                 Franklin, Ben; Hancock,             When global de-“duplicating has
                  CUSTODIAN                 John; Whipple, William              been employed, the custodians
           19                                                                   who had
                                                                                duplicates of the identical
           20                                                                   document
                  FROM                      Adams, John                         Email author/sender
           21     TO                        Hancock, John [mailto:              Recipient(s) of email separated
           22                               HANCOCK@JOHNHANCOC                  by semicolon
                                            K.com]
           23     CC                        Franklin, Ben                       Carbon copy recipient(s) of email
                                            [mailto: bennyf@1776.com]
           24     BCC                       N/A                                 Blind carbon copy recipient(s) of
                                                                                Email
           25     SUBJECT                   Declaration w/ edits                Email: subject line Native:
                                                                                document title
           26     DATE_SENT                 7/3/1776                            Email: date the email was sent
                  TIME_SENT                 12:59 AM                            Email: time at which email was
           27                                                                   sent on date in date field
           28     DATE_RECEIVED                                                 Received date of an email message
                                                                                (mm/dd/yyyy 12:00 format)

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            1    Field Name         Sample Data                   Description
                 NATIVE_LINK        D:\1969\ P000000222.MSG       Hyperlink to web address,
            2
                                                                  named uniformly with first
            3                                                     bates of parent
                                                                  Document
            4    FILE_EXTEN         i.e., MSG, DOCX, PDF, etc.    File extension of email or native
                                                                  Document
            5    FILESIZE           100 KB                        File size of the email or native
            6                                                     Document
                 FILENAME           Declaration w/ edits.docx     Name of the original native file,
            7                                                     including extension
                 AUTHOR             Jefferson, Thomas             Author of native document (MS
            8                                                     Word, etc.)
                 DATE_CREATED       6/1/2009                      Date native document was created
            9    DATE_MODIFIED      10/12/2010                    Date native document was
                                                                  last modified
           10    PGCOUNT            1                             Total pages of each original
                                                                  document/email
           11    TEXT LINK          D:\1969\ P000000222.txt       UNC path to text files of
                                                                  extracted/OCR text (unless
           12                                                     redacted)
                 HASHCODE           E4d909c290d0fb1ca068ffaddf2   Hash code created for file
           13                       2cb d0                        in connection with
                                                                  deduplication (e.g.,
           14
                                                                  MD5/SHA-1)
           15    PROD VOLUME                                      Identifies production media
                                                                  deliverable
           16    CONFIDENTIALITY                                  Identifies the confidentiality
                                                                  designation of the file. Field
           17                                                     will be blank for documents
                                                                  with no confidentiality
           18                                                     designation.
                 REDACTED                                         “Yes,” for redacted Discovery
           19                                                     Materials; otherwise, blank

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